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Fi|| in this inlorrm\tion to identity your cesar

Debtort Frences l_. Scol;t
FinlNlmo Mdanlma bottling

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Uniled Sletas Bankruplcy Court for the: Mtdd|e Dlstric§ of E|D{id§ fO;Iagdg)
(siaia}

Case number 1§8-05150
amend

 

 

official 'Form 427
Cover Sheet for Reaffirmation Agreement
rams

Anyone who is a party to a reaftirmetion agreement may fill out and mathis form. Ftii lt out compietely, attach it to the reaffirmation agreement
and file the documents within the time set under Bnnkruptcy Rute 4008.

m Explain the Repayrnent Tezms at the Reaflinnatton Agreernent

1. Who le the creditor?
` ationstar a a a r'. C',
blame of the creditor

 

2~ "'°‘” '““°h is the dam on the daietrrstthe bankruptcy case is med $ 82 5_81.92 1

»~'-»--I”-m-._.

To be paid under the reaitinnailon agreement $ 79,368.86 '

 

 

*$ 51 Cl 47 per month for 297 months (iftixed interest rate) *Seid amountmey include en amount
for ascrow. which is subject to change

 

3. Whatiethe Annuai

 

 

 

 

Before the bankruptcy case was filed 4.31§ ‘.’/
Percentaqe Rate {APR} o
of |nteres ? (See
Bankruptcy Code Underthe reaffirmation agreement 4.32§5 % M F|xed rata
§ 524tk]{3l(E)-i L:l Ad]ustehle rate
4, Does collateral secure
the deh't?
m N 0. . _
tit Yee. Deacrtbethe coiiaterel. 4531 MCKAY STREET SANFORD FL 32771
Current market value 3
5. Doee the creditor assert
martha debt is tit N°
nond|schargeab|e? Cl Yes. Attech en explanation of the nature of the debt and the basis for contendan that the debt is nondischargeable
6, Uslng information from . income and'e>gptan_eéa reported on S_cheduins t and‘.l` lnc'om'a and expenses started cri tire re,et'tlnnatiori agreement v

Schedu!e I: Yo ur Inc ome
(Oftlctel Fonn 106|) and

Sr:hedu!e J.- Yaur Se. Combtned monthi income from $ M_z_‘ 6a Monthiy income from ali sources $_\MZ-

Experises (Oi’ilcial Form line 12 of Schedu e t after payroll deductions
iUSJ), flll in the amounts. -
Sb. Monthly expenses from line 22c of_ $_|M[p Ef. Month|y expenses ___ $ lq qu-. {_()lp
Schedule J - _..__....__..}
NH' Fl l t NH' m d d
Sc,Manthlypeymentsonai| _ $ lnd\!d€d 6g.Monlh|ypaymenisonail reaffirmed _. $ § NC[H. 'e
§:£§E;dfems “°t "”‘°d °" - reemrrned debts net included ln _
gap monthly expenses
Sd\SChedured net m°n¢hiy |"¢°"W $..2`_:._,__ 6!'1. Present netmonthlylncorna $ Z' 810 ` ___,__
Subtract lines 65 end 60 from Ba. ' Suhtraot tines 6f end fig from Be.
If the total is less than 0. put the lime total 53 less than al put gh-

 

number in brackete. number in brackels,

 

 

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Oillclai Fonn 427 _ Cover Sheet for Reaiiirmelton Agreerneot page 1
Debtort reno s L. co Ceee nombarrnmm) JB~OS‘ESO
Firnt Nllt\a media Narnl Lnthmn
7’. Are the income amounts d No
on lines 6a and_$e m \’ee. Exptain why they are different and complete llne 10._
different? _
B. Are the expense g No
amounts on lines 6b a Yos. Explaln why they are different end complete line 10.
end 6! dltterent? .
l
9. le the net monthly El] No
income in line Bh less 53 Yee. A presumption of hardship arises (unieea the creditor is a credit unlon).
than 0? Expleln how the debtor witt make monthly payments on the reailirrned debt and pay other living expenaae.
Cornplete line 'it). _
10‘ newark cem“cau°" i certify that each explanation on lines ?-9 ia true and correct
about lines 7-9
Et_any answer on lines ?-9 le - -
Yes. the debtor must sign %V,W
“°’*‘~ ¢/~"'/ /éJ/r/@o fn ,/ " ‘ x
|iali the answers on lines ?-8 ` Signeture of Debtor 1 Stgnature ct Debior2 (Spouae Ontyln a .lolnt Gaee]
ereNo,gototine 11. t
t‘i. Dld an attorney represent give f
the debtor in negotiating Yee. Hae the attorney executed a declaration or an eflidavit tn support the reaffirmation agreement?
the reaffirmation
agreement? g N o
. Yee

 

 

 

m alan t'loro

Whoever title out this form l certitythat the attached agreementis a true and correct copy ortho reaffirmation agreement between the

must sign here. parties idenii d on t ver Sheet for Reai¥imlation Agreemenr.
x / Dele q/ z 5 / l Y
. . l l
S|gnelure _ MM iDlJlWW

l/\/arlne 5 . § tva h

' l

Ptlnleit Nama

§an ,
Debtor or Debtor'a Attomey

E:l creditorororeeiiorsnttcmey

 

 

 

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page 2

Ot’rlc|et Form 427 Cover Sheet for Reetlinnalton Agreemeni

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Fnrm 24ODA (12!15)

 

Checic one.
§§resumptlon oi`Undne Hardship
o P resumption ofUndue Hardship
See Deirtor '.r Slolement in Sz;npor¢ ofReqjirmarion,
Pari 11 below, to determine which box to check '

 

 

 

UNITED STATES BANKRUPTCY COURT
Middie District of Fiorida (Oriando)

ln re Franoes L. Scott, - Case No. 18~05150
Debtor - Chaptor 7

REAFFIRMATION DOCUMENTS

Nalne of Creditor: Nationstar Mortgagc LLC dib/a Mr. Cooger

l;:i Checi< this box |f Creditor is a Credit Union

PART I. REAFFIRMATION AGREENIEN'I`

Reai'firming a debt is a serious financial decision Before entering into this Reaffirmation
Agrecment, you must review the important disciosnres, instructions, and definitions found in Part V of
this form. -

~ ~ *Home mortgage loan covering the real property known cs:
A. Brici:` description of the original agreement being reaffirmcd:* 4533 .MCKAY STREET SANFORD FL 3g771

For excianl auto loan

B. AMOIHVTREAFFIRMED: $ 79 363.86

 

Thc Amount Reafi`mned is the entire amount that you are agreeing to pay. This may mciude
unpaid principal, inicrcst, end fees and costs (if sny) arising on or before 08/31/18
which is the date of the Disciosure Statcment portion ofthis form (Bart V).

j

See the definition of "Amount Reaffz`rmed” in Part V, Section C below.

C. Tho AMVUAL PERCENTA G‘E RA.'IE applicable to the Amount Reafiirmed is 4.315 ° o.
See definition of "Annuai' Percenrage Ratc” in Port V, Section C below.
This is a (chec!¢ one) lit Fixcd`rnte ` _ l;l Variable rate

If the ioan has a variable rate, die future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here. ' .

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I*orm 240%, Reaftinnation Doeuments Pege$i

D. Reafiirmation Agreernent Repayment Terms (checkand complete oma):

 

_ IZ *$510.47 per month for 227 months starting on 09/01/18 _

EZI Deseribe repayment terms, including whether future payment amount(s) may be different from
the initial payment amount
" The amount may include an amount for escrow, which is subject to change

 

 

E. Describe the collaterai, if any, securing the debt:

Deseription: 4531 MGKAY STREET SANFORD FL 32771
Current Market Value $ ' '

 

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
EI Yes. What was the purchase price for the coliaterai? _ $

[1'1| No. What was the amount of the original loan? $ 87,574.00

G. Specify the changes made by this Reaftirmation Agreement to the most recent credit terms on the reaffirmed
debt and any reiated agreement -

Terms as of the Terrns -Aiter
Date ofBankruptcy Reaflirmation
t Balance due (fneluding
fees and cosrs) $82!531.92 $ 79,aea.ee *see peer section o. above
Annual Percentage'Rate 4.;_=._2§ % ;.3“?5 %
Monthly Payment $ 510.47 $ 510.47

H. E:} Cheek this box if the creditor is agreeing to provide you with additional future credit in connection
with this Reafiinnation Agrcement. Describ'e the credit iitnit, the Annuai Percentagc Rate that applies
to future credit and any other terms on future purchases and advances using such oredit:

 

 

PART II. I_)EBTOR’S STATEMENT IN SU]E’PORT OF REAFF!RMATION AG`REEMENT
A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. m’§'eS `\:l No

B. Is the creditor a credit union?

Chccic one. I"“_‘i Yes IIM)

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Funn ‘ZdiluA, Rea.€iirmation Doeurnents Page 3

C. If your answer to EITHE`.R question A. or B. above is"‘No,” complete l. and 2. below.
l. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions

(take-home pay plus any other income) $ il_~£ 10. 52

b. Monthly expenses (including all reaffirmed debts except

this one) $ ga r}" iq
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ §§ l 3 ' 53
d. Amount of monthly payment required for this reaffirmed debt $ Si 0 ‘ qfi

Ifrhe'monthly payment on this reaffirmed debt (lz'ue d.) is greater than the amount you have available to
pay this reajj’irmed debt (iine c.), you must check the box at the top of page one that says “Presnmption
of Undue Hardship. " Othemise, you must check the box at the top of page one that says “No
Presumption of Undue Hardshto. ” - `

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Checlc one of the two statements below, if applicable:

' You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

l:l Yon can afford to make the payments on the reaffirmed debt even though your monthly income

is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirrning, including this one, because:

 

 

 

Use an additional page if needed for a full explanation."

D. If your answers to BOTH questions A. and B. above viera “Yes,” check the following
statement if` applicable: ~

l:| You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

Al.s‘o, check the box at the top of page one that says “No Fresumptfon of Undue Hardshlp.”

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Form 24DDA, Reaf’limralion Documents
PART III. CERTIFICATION BY'DEBTOR(S) AND SIGNATURES OF PAR'I`IES
l hereby certify that:

Page 4

(l) I agree to reaffirm the debt described above.

(2) Before signing this Reaffirmatlon Agrecment, I read the terms disclosed in this Reaffirmation

Agreement (Part l) and the Disclosure Statemcnt, lnstruotions and Defini_tions included in Part V
below; .

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part ll above} is~true and
oomplete; -

(¢l) l am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and '

(5) I have received a copy of this completed and signed Reaff'lnnation Dccuments forrn.
SIGNATURE(S) (If this is ajoint Reaff`lnnatio ' Agreement,£bzif debtors must sign.):

bare é@§ l QU/`§ Sianawrej/§/M; .» /i%/é@r§/ '

_ Deb¢or’“ ’
Date Signature

 

Joz'mDebtor, ifany 1

\

Reaffirmation Agreement Terms Accepted by Creditor:

 

Creditor Nationstar Mort a eLLC dfb/a Mr. Coo er PO BOX 619094 Dal|a$. Texas 75261
Cbasiity Wl|aon '

 

Assistant Seorobaryemé Address
Nationstar Mortgage l_l_C ‘ -. __ v
dib/a Mr. Cooper 10/‘| 712018
Mfzf game ofRepresentotive Dote

 

PART IV. CER'I`IFICATION BY DEBTOR’S ATTORNEY {`IF ANY)
To be filed only ifthe attorney represented the debtor during the course of negotiating this agreement

l hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and'(3) l have

fully advised the debtor of the legal effect and consequences of this agreement and any default under this
' agreement

l:l A presumption of undue hardship has been established With respect to this agreement fn my
opinion, however, the debtor is able to make the required payment '

Ckeck box, z'fthe presumption of undue hardship box is checked on pa l and the creditor is not o Cr'ediz‘
Union.

Date q z ’L big Signature of Debtor’s Attorney /Z

Print Narne of Debtor’s Attorney & ` n ic

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Fcrm MODA,ReaEinnaticn Dccuments Pagc 5 4

PART V. DISCLOSURE STATEMIENT AND INSTRUC‘I`IONS TO DEBTOR(S)

Before agreeing tc reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions -

Reafi'lrming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest lf these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaf`firmation Agreement is not effective, even though you have signed it.

A. nrscl.osuan sTATnMENT

1. What are your obligations ifyou reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages Your obligations will be determined by the Reaffirmation Agreement,
Which may have changed the terms of the original agreement If you arc rcaft`n'rning an open end credit

agreement that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions

2. Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest Be sure you can
afford the payments that you agree to make. ‘

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A “]ien” is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lieu is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
t'nc lien to take the collateral if you do not pay or default on the debt. Ifthe collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines

4. How soon do you need to enter into and file a reaffirmation agreement? Ifycu decide to enter into
.a reaffirmation agreement, you must do so before you receive your discharge After you have entered
into a confirmation agreement and all parts of this form that require a signature have been signcd, either
you or the creditor should file it as soon as possible The signed agreement must be filed With the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required However, the court may extend
the time for filing, even after the 450-day period has ended.

5. Can you cancel the agreement? You may rescind (canccl) your Reat`firmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs latcr. 'l`o rescind (caucel) your
Reaffirmation Agreement, you must notify the creditor that your Reaff`irmation Agreement is rescinded

(0r canceled). Remember that you can rescind the agreement even if the court approves it, as long as
you rescind within the time allowed

Fom1 2400A, Rcatfirmation Documents

6.

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Page 6
When will this Reaf{irmation Agreemeut he effective?

a. Ii` you were represented by an attorney during the negotiation ofyour Reafiirmation
Agreement and

i. if the creditor is not a Credit Unicn, your Reaft'u:ruation Agreerncnt becomes effective when

it is iiied with the court unless the reafiinnation is presumed to be en undue hardship lfthc

Reai`iirmation Agreernent is presumed to be an undue hardship, _ihe court must review it and may

set a hearing to determine whether you have rebutted the presumption of undue hardship

ii. if the creditor is a Credit Union, your Reaff'u'rnation Agreement becomes effective when it

is filed with the court. .
b. If you were not represented by an attorney during the negotiation of your Rcaffirlnation
Agreement, the Reaftirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must tile a mction, See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reafiirmation Agrccment. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reafiinnation Agrcement is in your best interest, the agreement will be approved and will become
effective Howevcr, if your Reai`firmation Agreement is for a consumer debt secured by a mortgage,

deed of trust, security decd, or other lien on your real property, iilce your homc, you do not need to tile a
motion or get court approval of your Reaftinnaticn Agreernent.

What if you have questions about what a creditor can do? If you have questions about reaftinning‘ a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement lf you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to

you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “rnay” do, it is not giving any creditor permission to do anything 'l`he word “may” is used to
tell you what might occur if the law permits the creditor to take the action

]NSTRUCTIONS

Review these Disclosures and carefuliy consider your decision to reafiirrn. If you Want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part l abcve). If your
case is a joint case, both spouses must sign the agreement if both are reaftirming the debt.

Comp_iete the Debtor’s Statemcnt in Support of Reat`tirmation Agreemcnt (Part ll abovc). Be sure that
you can afford to make the payments that you arc agreeing to make and that you have received a copy of
the Disclosure Staternent and a completed and signed Reaffirmation Agrecment.

It` you were represented by an attorney during the negotiation of your Reatiirmation Agreement, your
attorney must sign and date the Certiiication By Debtor’s Attorncy {Part lV abcve).

You or your creditor must file with the court the original of this Reafiirmation Documents packet and a
completed Reaftirma_tion Agreernent Cover Shcct (Ofticial Bankruptcy Fonn 427).

Ifyou are not represented by an attorney, you must also complete andfile with the court a separate
document entitled “Motion for Court Approval of Reaj}irmation Agreement " unless your Reaj‘irmation

Agreemerrt isfor a consumer debt secured by a lieu on your real properly, such as your home You can
use ]:"`orm 2400B to do this. °

Funn 2400A, Reaftinuation Dosumcnts

c._

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Page 7

DEF]NI'I`IONS

“Amount Reafiirmed” means the total amount of debt that you are agreeing to pay (reaftinn) by
entering into this agreementl The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
llc-affirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure You should consult your credit agreement

to determine Whether you are obligated to pay additional amounts that may arise after the date of this
disciosure.

“Annua¥ Pere'entage Rate” means the interest rate on a loan expressed under the rules required by_
federal law. 'I`he annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many ofthe creditor’s fees and charges You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers

were signed or on the monthly statements sent to you for an open end credit account such as a credit
card. »

“Credit Union” means a financial institution as defined in 12 U‘S.C. § 461(b)'(l)(A)(iv). lt is owned

and controlied by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U.” or “F`C,U.” in its name.

